
80 So. 3d 416 (2012)
Luis TORRES, Appellant,
v.
STATE of Florida, Appellee.
No. 1D10-4346.
District Court of Appeal of Florida, First District.
February 14, 2012.
Nancy A. Daniels, Public Defender, and M.J. Lord, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, for Appellee.

ON MOTION FOR REHEARING OR CLARIFICATION
PER CURIAM.
Upon consideration of Appellant's Motion for Rehearing/Clarification, we grant the requested clarification. Accordingly, the opinion issued on December 8, 2011, is withdrawn, and the following opinion is substituted in its place.
AFFIRMED. See Flagg v. State, 74 So. 3d 138 (Fla. 1st DCA 2011).
THOMAS, MARSTILLER and RAY, JJ., concur.
